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                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
                             CIVIL MINUTES—GENERAL

  Case No. SACV 19-1998-MWF (KSx)                          Date: September 3, 2020
  Title:   Bureau of Consumer Financial Protection et al. v. Consumer Advocacy
           Center Inc. et al.
  Present: The Honorable MICHAEL W. FITZGERALD, U.S. District Judge

            Deputy Clerk:                           Court Reporter:
            Rita Sanchez                            Not Reported

            Attorneys Present for Plaintiffs:       Attorneys Present for Defendants:
            None Present                            None Present

  Proceedings (In Chambers): ORDER RE: MOTION TO WITHDRAW AS
                             COUNSEL OF RECORD [168]

         Before the Court is Venable LLP’s (“Venable”) Motion to Withdraw as Counsel
  of Record for Defendants True Count Staffing, Inc., Albert Kim, Kaine Wen, and
  Relief Defendant Infinite Management Corp. (the “Motion”), filed on July 24, 2020.
  (Docket No. 168). Defendants Albert Kim, Kaine Wen, and Matthew Eanet, attorney
  for Relief Defendants Hold The Door, Corp. and Mice and Men LLC, filed
  Declarations in Opposition to the Motion on July 28, 2020 and July 30, 2020. (Docket
  Nos. 171-1; 171-2; 171-3; 175). On August 3, 2020, and again on August 21, 2020,
  Venable lodged in camera filings under seal in further support of its Motion. (Docket
  Nos. 184-185; 199-200).

        The Court has read and considered the papers filed in connection with the
  Motion and held a telephonic hearing on August 31, 2020, pursuant to the Court’s
  Continuity of Operations Plan arising from the COVID-19 pandemic.

         For the reasons discussed below, the Motion is GRANTED. Venable shall be
  permitted to withdraw from its representation of True Count Staffing, Inc. (“True
  Count”), Albert Kim, Kaine Wen, and Relief Defendant Infinite Management Corp.
  (“Infinite”) (collectively the “Venable Defendants”).

        Whether to grant a motion to withdraw is a matter within the Court’s discretion.
  United States v. Carter, 560 F.3d 1107, 1113 (9th Cir. 2009). “The motion for leave to

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  withdraw must be supported by good cause.” L.R. 83-2.3.2. “Unless good cause is
  shown and the ends of justice require, no substitution or relief of attorney will be
  approved that will cause delay in prosecution of the case to completion.” L.R. at 83-
  2.3.5.

         In determining whether to grant counsel’s motion to withdraw, courts often
  weigh the following four factors: “(1) the reasons why withdrawal is sought; (2) the
  prejudice withdrawal may result to other litigants; (3) the harm withdrawal might cause
  to the administration of justice[;] and (4) the degree to which withdrawal will delay the
  resolution of the case.” Kazovsky v. Metrocities Mortgage, LLC, 2:11-CV-06079-
  ODW (FMOx), 2012 WL 8747557, at *1 (C.D. Cal. June 4, 2012) (quoting Huntington
  Learning Ctrs., Inc. v. Educ. Gateway, Inc., No. CV 09-3200-PSG (VBKx), 2009 WL
  2337863, at *1 (C.D. Cal. June 28, 2009)).

        In assessing the reasons for withdrawal, the Court looks to the California Rules
  of Professional Conduct. See Stewart v. Boeing Co., No. CV 12-05621 RSWL, 2013
  WL 3168269, at *1 (C.D. Cal. June 19, 2013) (“Federal courts also often look to
  applicable state rules in determining whether adequate grounds exist to excuse counsel
  from further representation.”); U.A. Local 342 Joint Labor-Mgmt. Comm. v. S. City
  Refrigeration, Inc., No. C-09-3219 JCS, 2010 WL 1293522, at *3 (N.D. Cal. Mar. 31,
  2010) (“In this district, courts look to the standards of professional conduct required of
  members of the State Bar of California in determining whether counsel may withdraw
  representation.”).

         The Court determines that Venable has demonstrated good cause for withdrawal.
  As stated at the hearing, good cause is shown both on the basis of the in camera
  submissions and that the various declarations demonstrate a breakdown in the attorney-
  client relationship.

         With respect to prejudice, while Albert Kim and Kaine Wen both indicated their
  desire for Venable to continue its representation, that is no longer possible, and both
  parties would likely be more prejudiced by Venable’s continued representation. And

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                         CENTRAL DISTRICT OF CALIFORNIA
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  both Kim and Wen now agree Venable’s withdrawal is best for everyone involved.
  Additionally, while Matthew Eanet declares that Relief Defendants Hold The Door,
  Corp. and Mice and Men LLC will be prejudiced by Venable’s withdrawal because of
  a delay in settlement negotiations, that does not justify denying the Motion. (Docket
  No. 171-3).

         Moreover, as there are currently no other motions pending in this action,
  withdrawal will have limited impact on the administration of justice and the resolution
  of the case. That is especially true considering that the Court ordered Venable to file
  Answers on behalf of the Venable Defendants rather than further delaying this case.
  Finally, while requiring the Venable Defendants to find new counsel may delay the
  resolution of the case, the Venable Defendants have been on notice of Venable’s plans
  to withdraw from this case for over a month, giving them sufficient time to find new
  counsel.

         For the reasons stated above, the Motion is GRANTED. Venable shall serve a
  copy of this Order on the Venable Defendants by mail, e-mail, or any other practical
  means of service calculated to give actual notice of the withdrawal, and then file a
  proof of service within five court days of the filing of this Order. After filing the proof
  of service, Venable is granted leave to withdraw and will be deemed withdrawn as
  counsel of record. The docket shall reflect the withdrawal.

        As the Court stated at the hearing, with respect to Albert Kim and Kaine Wen,
  when an attorney of record ceases to represent individuals, as here, the individuals
  must appear pro se or appoint another attorney by a signed substitution of attorney
  form. L.R. 83-2.3.3. Defendants Albert Kim and Kaine Wen shall file notice with the
  Court by no later than October 16, 2020, whether they have retained counsel. If they
  do not retain new counsel by that date, then they should be prepared to represent
  themselves.

        As for Defendants Infinite and True Count, the basic rule is that a corporation
  must appear in federal court through counsel. See Rowland v. Cal. Men’s Colony, Unit
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                          UNITED STATES DISTRICT COURT
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           Center Inc. et al.
  II Men’s Advisory Council, 506 U.S. 194, 201-02 (1993) (only natural persons may
  proceed in forma pauperis because, inter alia, organizations need a lawyer in federal
  court). Accordingly, because Infinite and True Count cannot proceed pro se in this
  action, they must fill notice with the Court no later than October 16, 2020 that they
  have retained new counsel. Should they fail to file the above notice, the Court shall
  strike their Answers (Docket Nos. 191, 193), and Plaintiffs shall apply for entry of
  default against Infinite and True Count by no later than October 30, 2020, and shall
  move for default judgment within ten (10) days of entry of default by the Clerk.

         Until the Venable Defendants file their notices with the Court regarding
  retaining counsel, the action is STAYED as to the Venable Defendants. The stay will
  be lifted as to the Venable Defendants one week after the above-referenced notices are
  filed or until October 16, 2020, whichever first occurs.

        IT IS SO ORDERED.

         The Court may not provide advice to any party, including persons who are not
  represented by a lawyer. (Such persons are known as “pro se litigants.”) However,
  this District does have a “Pro Se Clinic” that can provide information and assistance
  about many aspects of civil litigation in this Court. Public Counsel’s Federal Pro Se
  Clinic provides free legal assistance to people representing themselves in the United
  States District Court for the Central District of California. The Pro Se Clinic is located
  at the Roybal Federal Building and Courthouse, 255 East Temple Street, Los Angeles,
  California 90012.

         The Los Angeles Pro Se Clinic is closed due to the pandemic, but is providing
  remote assistance via telephone and/or email. For more information, you can call the
  clinic at (213) 385-2977, ext. 270, or visit the following site:
  tinyurl.com/fedproseclinic.

       In addition, the Court has information of importance to pro se litigants at the
  “People Without Lawyers” link, http://prose.cacd.uscourts.gov/.

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                        CENTRAL DISTRICT OF CALIFORNIA
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           Center Inc. et al.
         Pro se litigants may also apply to the Court for permission to electronically
  file. Form CV-005 is available at http://www.cacd.uscourts.gov/court-
  procedures/forms.

        The Court’s website home page is http://www.cacd.uscourts.gov.




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